                                                                                     CLERK'S OFFICE U.S.DISTRICT COURT
                                                                                              ATABINGDON,VA
Ao 91(R,v.l1/11) criminalcomplaint                                                             . FILED

                                 U XITED STATES D ls-rm c'rc ouR'r                                )UL -22912
                                                          forthe                               JULI .DUOLEY,CLERK
                                              W estern DistrictofVirginia
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               United StatesofAmerica                                                                DEPUTY CLERK
                            V.


                  Paulette G .TO LLER
                                                                   casexo.t.J4 m Jqtw

                       Defendantls)

                                            CR IM IN A L C O M PLA INT
        1,the complainantinthiscase,statethatthefollowing istrueto the bestofmy knowledge andbelief.
Onoraboutthedatets)of                 June2017-June2019       inthecountyof                Pittsylvania        inthe
   Western     Districtof                 Virginia    ,thedefendantts)violated:
           CodeSection                                               Of/ènâ'cDescri
                                                                                  ption

21USC 841(a)(1)                            Possessionwith Intentto Distribute Controlled Substance
21USC 843(a)(3)                            Obtaining controlled substances byfraud




        Thiscriminalcomplaintisbased onthesefacts:

See AttachedAffi
               davit




        d Continuedontheattachedsheet.

                                                                                   Complainant'
                                                                                              s gnature
                                                                               M PatrickLong,SpqcialAgent
                                                                                    Printednameand title

Swornto beforeme and signed in my presence.

Date: 7
                   )                                                                  Judge'ssignature

city andstate.
             .                   Abingdon,virginia                     Pam ela M eade Sargent,US M agistra eJudge
                                                                                    Printednameand title



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                         IN TH E IJN ITE D STA TES D ISTRIC T C O U RT
                        FO R TH E W ESTER N D ISTRIC T O F VIR G INIA



   IN THE M ATTER OF THE ARREST OF: )
                                    )
   PauletteG.TOLLER     '
                                    )
                                    )                        Case N o.
                                    )
                                    )

                      A FFID AV IT IN SU PPO R T O F A R RE ST W A R R AN T
       1,M .Patrick Long,being duly sw orn,depose and state as follow s:

              Iam aSpecialAgentwiththeDnlgEnforcementAdministration(hereinafter
ç(DEA''),currentlyassignedtotheRoanokeTacticalDiversionSquad (hereinafter(TDS'')inthe
W ashington Field D ivision. A sa duly appointed SpecialA gentin the DEA ,Inm charged w ith
theduty ofenforcingthe Controlled SubstancesAct,andam authorized underTitle21,United
States Code,Section 878 to carry firearm s,execute w arrants,m ake arrests foroffensesagainst
theUnited StatesofAm erica,and to perfonu other1aw enforcem entdutiesasauthorized by law.
       2.      Iw asem ployed by the DEA in 2005 as a D iversion lnvestigator,and later
appointed aSpecialA gentoftheDEA in 2009.1haveattended basictraining coursesforboth
core series atthe DEA Training A cadem y forthirteen w eeksand rlineteen w eeks,respectively,
duringwhichtimeIreceivedspecializedtrainingregardingfederallaw,surveillance(physical
andelectronic),undercoveroperations,phnrmaceuticaldiversion,narcoticstrafficking,and
m oney laundering.
       3.      By virtue oftheposition asa SpecialAgent,yourAffiantisafederal1aw
enforcementofticerempoweredtoconductinvestigationsconcerningtheunlawfo possession,
possession with intentto distribute,and unlawfuldistribution ofcontrolled substances,and
associated conspiracies,and to m ake arrests for violationsofTitle 21,U nited StatesCode,
Sections 841 and 846. A sa D iversion Investigator and asa SpecialA gentforthe D EA ,your
A ffianthas participated in m ultiple ihvestigations involving the tm law fulpossession,
m anufactlzre,and distribution ofcontrolled substances.
               During the course ofthese investigations,1have debriefed defendants,
infonnants,and w itnessesw ho had personallcnow ledge regarding narcotics trafficlcing,



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conducted physicalsurveillance,prepared affidavitsforsearch warrants,participated in the
execution ofnum erous search warrants,acted as an undercoveragent,analyzed infonnation
receivedpursuanttograndjurysubpoenas,analyzedevidenceand information obtàinedfrom
court-authorized pen registerand trap and trace intercepts,telephonetolls,financialdocllm ents,
reviewed and transcribed recorded calls,and provided testim ony.
              In colm ection with m y duties,yourA ffiantm akesthis Application aspartofa
criminalinvestigationinvolvingPauletteG.TOLLER (hereafterreferredtoasCITOLLER''),
licensed phannacy technician,foroffensesrelated to the illegalpossession ofcontrolled
substances w ith intentto distribute,in violation ofTitle 21,United States Code,Sections
841(a)(3)andobtainingcontrolledsubstancesbyfraud,inviolationofTitle21,UnitedStates
Code843(a)(3).
              Thisaffidavitism ade in supportofan application foran arrestw arrantfor
TO LLER ,and containsinform ation necessary to supportprobable cause forthisapplication. lt
isnotintended to includeeach and everyfactand matterobserved by yourAffiantorknown to
the governm ent.
              Thefactsand information contained in thisaffidavitarebased upon yoylr
A ffiant'spersonalknow ledge ofthe investigation,inform ation provided to yolzrA ffiantby other
1aw enforcementofficersand agents,inform ation provided by cooperating individuals,and other
inform ation gathered duringthecourseoftheinvestigation.
       8.     TO LLER has been a registered pharm acy technician w ith the Virginia
DepartmentofHea1th Professions,lmderlicense number0230004204,since 02/20/2004.
TOLLER hasbeenemployedatSovahHea1th Danville(hereinafterçssovah'')asaphannacy
teclmician since 09/24/2001.TOLLER'S em ploym entatSovah Hea1th wassuspended on June
13,2019.Afterbeing confronted by hospitalm anagem ent,she confessed to diverting controlled
substances from the hospitalsince approxim ately June 2017.
       9.     Asapharm acy technician,TOLLER'Sdutiesincluderemoving controlled
substancesfrom themainphannacy automateddispensingsystem (hereinafter'W DS'')and
placing thecontrolled substancesin vmiousADS m achinesthroughoutthehospitâl. Sovah's
soRw are program tracksboth partsofthistransaction,and the usualtransaction w ould include a
review by the on-duty pharm acist.
       10.    O n June 12,2019,Sovah'sD irectorofPharm acy contacted DEA in regardsto the
theftofcontrolled substances.TheDirectorstatedthatithad been discovered on Jtm e 11,2019,



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thatTollerhad found a(tloophole''in thesoftwareprogram thatallowed herto withdraw
controlled substancesfrom thehospital'sAD S underpreviouscodesthatwerenow invalid.
(Exnmple:theESOB''nursingunitwaspreviously labeledtheIGOBG''nursingunitl.lDuetoa
discrepancy ofPercocet5mg overtheweekend shift athorough review wasconductedto
determ inethecauseofthediscrepancy.Duringthisreview,itwasnoted thatTOLLER had used
an invalid nlzrsingcode;therefore,al1ofTOLLER'Stransactionswerereviewed. Sovah
phnnnacy staffprovided a computergenerated reportshowing a1lthetransactionsTOLLER
conducted undertheinactive codes,which isattached hereto and incorporated herein by
reference.ThereportshowsthatTOLLER illegally obtained two syringesofoxycodoneliquid
and atotalof 13,422 controlled substancepills,including:
              Schedule 11nazcotics
                      5,246 hydrocodonepills;
                      6,088 oxycodone pills;
                      65 hydrom orphonepills;
              Schedule IIInarcotics
                      760 codeine pills;
              ScheduleIV benzodiazepines
                      270 alprazolnm pills;
                      20 clonazepam pills;
                      713 lorazepnm pills;
                      20 temazepnm pills;and
              Schedule IV sedatives
                      240 zolpidem tartratepills.

              Based on training and experience,yourAffiantknowsthatthe abovelisted
controlled substancesare desirablein theillicitm arket,and thequantitiespilferedby TOLLER
are consistentw ith unlaw fuldistribution activity.
       12.    D uring a norm altransaction,the pharm aciston duty w ould review anything
pulled by a phnrm acy teçhnician before releasing itfrom the pharm acy. H ow ever,1Sovah
                                                                                1
pharmacy staffand security staffreviewed video footagefrom thehospital'ssurveillancesystem
and witnessed TOLLER accessingtheADS when thepharmaciststepped outoftheroom .




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'                                                                           )
       13.    On June 13,2019,Sovah'sDirectorofPharm acy,DirectorofSecudty,and
PharmacyTeclmicianSupervisor,confrontedTOLLER abouttheuseoftheinvaliècodes.
TOLLER stated shehad started diverting controlled substancesfrom Sovah datingback to
approxim ately June 2017 forpersonaluse due to knee pain.




M .PatriciLong,SpecialAgent(DEA)                       Dae


Subscribed and swolm to beforem e,thisthe :7 dqyor                         o/? in
A bingdon,V irginia.




                                            nmelaM eadeSargent
                                           United StatesM agistrateJudge
                                           W estern DistrictofVirginia




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